        Ex. J

  Chen's Counsel's Written
Admission of Fabricating Terms
  and Conditions of Service
 Chen's Counsel's Letter (Excerpt) to
Judge Figueredo Admitting the Terms
and Conditions of Service was Created
          During Litigation
           (Dkt. No. 114)
        Case 1:19-cv-09407-VSB-VF Document 114 Filed 05/09/22 Page 3 of 5


        From the Defendants standpoint, Plaintiff has not produced any documentation
substantiating its claim that it has standing to bring this lawsuit. More particularly, Plaintiff has not
produced any documentation that it owned the cargo that it claims Defendant overcharged
expenses nor has Plaintiff provided any proof of the damages it claims it incurred. Further, Plaintiff
has not produced any documentation that it has any right of possession of the cargo being held by
Defendant in the New Jersey warehouse, nor has it provided any proof of damages.

       From Plaintiff’s standpoint, it contests that Defendant had any lien rights with respect to the
cargo being held by Defendant. More particularly, The power of attorney entered into by Mr.
Zhang (on behalf of Eagle) provides that:

       “…Grantor acknowledges receipt of May Y Chen DBA Ability Customs Brokers’ Terms
       and Condition of Service governing all transactions between the parties…” (see Exhibit
       “C”).

       However, Plaintiff claims that it never received a copy of the Terms and Conditions
notwithstanding the foregoing acknowledgement.

        The Terms and Conditions that Defendant Chen utilized in the regular course of her
business that she began in 2011 were based upon a form produced in 1994 by customs brokers
trade associations (a copy of which is attached as Exhibit “D”). In 2009 those the trade
associations had updated the terms and conditions, but those updates were not included in the terms
and conditions that Defendant utilized in her business.

       After this lawsuit was instituted, Defendant retained William Shayne of this law firm who
updated Defendant’s “terms and conditions” and thereafter the updated format was placed on
Defendant’s website. Attached as Exhibit “E” is a copy of the updated Terms and Conditions.

       The Court’s attention is respectfully directed to paragraph 13 of Exhibit ”D” and paragraph
14 of Exhibit “E”, both of which address Defendant’s lien rights.

        Attached as Exhibit “F” is a series of emails in which Plaintiff objected to the objections
asserted by Defendant for the most part based upon the limitations placed on licensed customs
brokers by 19 CFR 111.24 which provides:

       § 111.24 Records confidential.

“…The records referred to in this part and pertaining to the business of the clients serviced by the
broker are to be considered confidential, and the broker must not disclose their contents or any
information connected with the records to any persons other than those clients, their surety on a
particular entry, and the Field Director, Office of International Trade, Regulatory Audit, the special
agent in charge, the port director, or other duly accredited officers or agents of the United
States, except on subpoena by a court of competent jurisdiction…”


       Based upon the past history with Plaintiff’s counsel (who in reality are the principals of
Eagle), I wrote a letter to counsel in response to the May 3, 2022 email in which I provided the
                                  TEL: 212 566-4949 FAX: 212 202-5423 EMAIL:
                                       WSHAYNE@SHAYNELAWGROUP.COM                          PAGE 3 OF 3
SDNY CM/ECF NextGen Version 1.6                                                                   5/20/22, 11:59 AM



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 114          Main Document                        5 pages                              101 kb
 1            Exhibit EXHIBIT A-
              DEMAND FOR
                                                   8 pages                              165 kb
              DOCUMENTS WITH
              RESPONSES
 2            Exhibit EXHIBIT B-
              INTERROGATORIES                      7 pages                              118 kb
              WITH RESPONSES
 3            Exhibit EXHIBIT C-
              SIGNED POWER OF                      2 pages                              72 kb
              ATTORNEY
 4            Exhibit EXHIBIT D-
              TERMS & CONDITIONS                   2 pages                              114 kb
              USED BY DEFENDANT
 5            Exhibit EXHIBIT E-
              TERMS & CONDITIONS
              REVISED POST                         4 pages                              169 kb
              INSTITUTION OF
              LAWSUIT
 6            Exhibit EXHIBIT F-
              EMAILS BETWEEN
                                                   5 pages                              211 kb
              COUNSELS RE
              DISCOVERY
 7            Exhibit EXHIBIT G-
              LETTER FROM
              DEFENDANT                            10 pages                             356 kb
              RESPONDING TO
              PLAINTIFF'S EMAIL
 8            Exhibit EXHIBIT H-
              CUSOMS RULINGS
              REGARDING 19 CFR                     19 pages                             0.6 mb
              111.24

https://ecf.nysd.uscourts.gov/doc1/127031199038?caseid=524380&de_seq_num=413&magic_num=66979920         Page 1 of 2
Chen's Counsel 's Letter (Excerpt) Dated
   May 6, 2022 to Plaintiff's Counsel
Admitting the Terms and Conditions of
 Service was Created During Litigation
       In an effort to avoid unnecessary motion practice, I have attached three (3) rulings by
Customs that clearly sets forth that licensed customs brokers (which we all acknowledge would
include Defendant, Chen), are prohibited from disclosing the identity of its customers.

        Further, although I believe Defendant has not been evasive as you state in your email, what
I also believe is that you are under some misunderstanding as to what terms and conditions that
were in effect and referred to in the Power of Attorney that was entered into between Defendant
and Eagle. This is why I suggested that you take the Defendant’s deposition and if there is still a
disagreement as to what terms and conditions were in effect during the time Defendant was
performing services for Eagle pursuant to the Power of Attorney, then you could always seek post
depositions discovery demands.

        However, as an “offer of proof”, although Plaintiff did not request the information that you
would likely have been provided at Defendant, Chen’s deposition, the following testimony is likely
to be elicited:

   1. Chen had been employed by a customs broker before receiving her customs broker’s
       license;
   2. Upon obtaining her customs broker’s license she started her own customs brokerage
       business under the name “May Y. Chen DBA Ability Customs Brokers”, a copy of
       Defendants customs brokers license that was issued on March 3, 2012 is attached for your
       ready reference;
   3. Although Defendant does not recall the exact event when and where she obtained the terms
       and conditions she first used when she began business operations, Defendant does recall
       that upon leaving the employ of the customs broker, she came into possession of a copy of
       the terms and conditions that that broker had been using.
   4. Defendant is expected to testify that the copy of the terms and conditions that was utilizes
       by her former employer was given to a local printer who was directed to place Defendant’s
       name on the document instead of the name of her prior employer and produce copies;
   5. Defendant is expected to testify that she has no knowledge of the technology that the local
       printer used to produce the terms and conditions, and does not recall the identity of that
       local printer;
   6. The copy of the Terms and Conditions that Defendant utilized was a version that was
       issued in 1994 and was based upon the terms and conditions issued by the National
       Customs Brokers & Forwarders Association of America, Inc. (“NCBFAA”);
   7. Chen has no information or knowledge as to when or under what circumstances her former
       employer formulated or came into possession of the power of attorney that she used when
       she started her own business;
   8. Chen did not seek permission to utilize the terms and conditions form she utilized when she
       began business operations, nor, upon information and belief was it required at that time;
   9. Chen’s company routinely sent a copy of the terms and conditions to its customers;
   10. After the instant lawsuit was filed and Defendant retained counsel, counsel updated the
       terms and conditions to take into account the recommended changes that were made by the
       NCBFAA in 2009;
   11. The updated version was then placed on Defendant’s website by Defendant’s
       representative;


               TEL: 212 566-4949 FAX: 212 202-5423 EMAIL: RESINCOURT@AOL.COM           PAGE 3 OF 6
